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      1                       UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
      2                         FT. LAUDERDALE DIVISION
      3                           Case 13-60284-CR-COHN
      4
          UNITED STATES OF AMERICA,
      5
                         Plaintiff,
      6                                                          FT. LAUDERDALE, FLORIDA
              vs.
      7                                                          May 16, 2014
          BRANDON ROBINSON,
      8
                       Defendant.
      9   _______________________________________________________________
     10
     11                        TRANSCRIPT OF SENTENCING
                          BEFORE THE HONORABLE JAMES I. COHN,
     12                      UNITED STATES DISTRICT JUDGE
     13   APPEARANCES:
     14   FOR THE GOVERNMENT:               FRANCIS VIAMONTES, A.U.S.A.
                                            KATHERINE KOONTZ, A.U.S.A.
     15                                     500 East Broward Blvd., Ste. 700
                                            Ft. Lauderdale, FL 33394
     16
     17   FOR THE DEFENDANT:                STEVEN H. HAGUEL, ESQ.
                                            9100 S. Dadeland Boulevard, Suite 400
     18                                     Miami, Fl 33156
     19   REPORTED BY:                      PAULINE A. STIPES, RPR-CM
                                            Official United States Court Reporter
     20                                     Federal Courthouse
                                            299 E. Broward Boulevard
     21                                     Ft. Lauderdale, FL 33301
                                                                  954-769-5496
     22
     23
     24
     25


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      1             THE COURT:     The matter before the Court is United

      2   States of America versus Brandon Robinson.

      3             This is case number 13 dash 60284-CR.

      4             Mr. Robinson is present.                He is represented by Steven

      5   Haguel.

      6             The Government is represented by Assistant United

      7   States Attorneys Francis Viamontes and Katherine Koontz.

      8             On March 3rd of this year, Mr. Robinson entered a plea

      9   of guilty to Counts 1, 2, 3 of a seven count superseding

     10   indictment.

     11             Upon acceptance of his plea, the Court adjudged

     12   Mr. Robinson guilty of Counts 1, 2, and 3, ordered a

     13   pre-sentence investigative report and deferred sentence until

     14   today's date.

     15             Have counsel for the respective parties received a

     16   copy of the pre-sentence report?

     17             Ms. Viamontes?

     18             MS. VIAMONTES:        Yes.

     19             THE COURT:     Mr. Haguel?

     20             MR. HAGUEL:      Yes.

     21             THE COURT:     Mr. Robinson, have you received and

     22   reviewed a copy the pre-sentence report?

     23             THE DEFENDANT:        Yes, sir.

     24             THE COURT:     Are there any objections?

     25             MR. HAGUEL:      I have filed my objections and they are



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      1   addressed by the Probation Officer, but there are still

      2   outstanding objections, yes.

      3             THE COURT:     Let's hear outstanding objections not

      4   resolved.

      5             MR. HAGUEL:      Go along with the addendum filed by the

      6   Probation Officer.

      7             The Probation Officer, and correctly so, lumps a

      8   couple of my objections together in the first paragraph on the

      9   first page.    They are not numbered, on the first page saying

     10   that Mr. Robinson objects to the statements that say he forced

     11   the victims into prostitution, that he choked one of the

     12   victims, and pushed her back and wouldn't let her leave.

     13             Those type objections -- those type statements.

     14             He does object to that.

     15             Without minimizing what he has done, and without

     16   trying to deny what he has done, he also at the same time does

     17   not want to be painted worse than what he has already done.

     18   What he has done is bad enough.               He does not want to be painted

     19   as somebody worse than what he has done.

     20             He is going to address the Court later this morning,

     21   and he is going to tell the Court exactly that.                      He does not

     22   want to be painted as something that forced these victims into

     23   prostitution.

     24             The answer given by the Probation Officer which is the

     25   only answer that could be given, well, the police reports, the



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      1   facts that were contained in the pre-sentence investigation

      2   report were from the police reports.

      3              Again, without denying what he has done, he is denying

      4   any force.    He is denying any coercion.                   And that is just

      5   something that is going to be word against word.                     It is not

      6   something that can be resolved with an objection.                     That can be

      7   ruled on by the Court, yes, this happened or no, this didn't

      8   happen.

      9              The second objection or group of objections or single

     10   objection, page two of the adendum has to do with the number of

     11   victims.

     12              Now, I was just present in the sentencing for

     13   Mr. Jones and I heard counsel for Mr. Jones make the same

     14   objection.    We are making the objection.                    He pled guilty being

     15   the pimp for Z.G. and M.Y..

     16              The Probation Officer in the PSI has him accountable

     17   for all four girls.

     18              In response to my objection, the Probation Officer

     19   states, which is, of course, the proper thing for her to state

     20   that, according to the police reports, he did plead guilty to

     21   the overall conspiracy granted and that he was present at this

     22   hotel room and present at that hotel room and spoke about

     23   knowing that this other girl was under age.

     24              All that is granted.            And I will even go as far as

     25   saying that, according to the provisions of the Sentencing



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      1   Guidelines, if he has pleaded guilty to the conspiracy, which

      2   he has, he is accountable for what everybody in the conspiracy

      3   has done.    He understands that.

      4             The point of making this objection is to make it clear

      5   to the Court that he was involved with two girls.                         Bad enough

      6   he was involved with two girls, but he was not involved with

      7   the other girls.

      8             So, that is the other objection that we made.

      9             THE COURT:     The Court will adopt the response of U.S.

     10   Probation and the objection will be overruled.

     11             MR. HAGUEL:      Okay.

     12             Other than that, there are several people who have

     13   written letters to the Court which we have filed.

     14             THE COURT:     Any other objections relating to the

     15   Guidelines computations?

     16             MR. HAGUEL:      The computations, no.                     The numbers are

     17   what the numbers are.

     18             THE COURT:     The Court makes the following findings

     19   with respect to the advisory guidelines:

     20             Total offense level is 43.                 Criminal history category

     21   is 5.   The advisory imprisonment range is life.                        Probation not

     22   authorized.    Supervised release range is 5 years to life.

     23             The fine range is $25,000 to $250,000.                        Restitution is

     24   yet to be determined, and there is a mandatory special

     25   assessment of $100 per count for a total of $300.



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      1              Now I will hear from you further, Mr. Haguel.

      2              MR. HAGUEL:     We have submitted to the Court several

      3   letters.    I am sure the Court has received and read them.                  I

      4   apologize they were only submitted a day before.                     There were

      5   problems getting them and transmitting them to counsel, to me,

      6   so I could file them on the electronic filing system.                    I am

      7   glad they were filed a day in advance.

      8              Some of those people will address the Court today.

      9              THE COURT:    I will be glad to hear from them.

     10              MR. HAGUEL:     If we could hear from the Defendant's

     11   mother.

     12              THE COURT:    Sure.       Would you identify yourself for the

     13   record?

     14              THE WITNESS:      Cynthia Robinson Martin, Brandon

     15   Robinson's mother.

     16              This is my daughter.            She came up in case I can't

     17   speak.

     18              THE COURT:    Okay.

     19              THE WITNESS:      I am here on behalf of my son for his

     20   character, the type of person he is.                   I am not saying -- I am

     21   not condoning what he did.

     22              I know my son.       I know he did not force anyone to do

     23   anything.    He is a good person.             He would give you his last if

     24   he had to.    He would give you food off of his table.

     25              So, the reason I am here is to ask if you guys could



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      1   look into your heart and see the type of person he is, yes, he

      2   has done wrong, the wrong thing in front of courts but he is a

      3   good person.

      4              THE COURT:    Thank you for being here.

      5              MR. HAGUEL:     My next witness.

      6              THE WITNESS:      My name is Popeita, P poppa e Edward i,

      7   T as Tom a.

      8              THE COURT:    Your last name.

      9              THE WITNESS:      Numan, N-u-m-a-n.

     10              I want to add to him being a good person and with him

     11   having children, we need him home to provide for them and also

     12   for us because it is just us three as far as relatives, and we

     13   don't have any one else.

     14              We just would like -- We know that prison time is

     15   going to be given, but just if maybe some leniency on the time,

     16   less time given, and maybe some help so we could have him home;

     17   and, also, the sad parties, this whole thing has gone down, my

     18   mom's health has also declined.               That is the scarey part, as

     19   well.

     20              That is all we have to say.

     21              THE COURT:    Thank you.

     22              THE WITNESS:      Good morning, Your Honor, my name is

     23   Jennell Graham.     I am the best friend of Brandon's girlfriend.

     24              I want to tell you about my personal experience for

     25   Brandon.    I am aware you read the letter; but, before I went to



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      1   school, I was caught up in things I wasn't supposed to be

      2   caught in.

      3             My mother lost her job.               She is a single mother,

      4   parent, and we didn't have any money in the household.                         I

      5   resorted to some things I shouldn't have.                       Every time I had an

      6   issue I would go and speak to Brandon, and he would welcome me

      7   with open arms, no matter what time, he was there for me.                          He

      8   made it clear if I needed him, he was there.

      9             Although he talked me out of it the first time, I went

     10   against him.    I got caught up.            If it weren't for him, I

     11   wouldn't be in school.        I am going to school in Alabama.                     He

     12   saved my life.     I want make that clear.

     13             I am telling you, and he is hearing me, he saved my

     14   life.    He is the one that made it clear I need to do better, I

     15   need to live better, the streets are not where I am supposed to

     16   be at.

     17             I ask you to please, please, please be lenient on his

     18   sentence.

     19             I am not saying what he did was right.                        I am aware

     20   everybody has to pay for whatever they did.                          The consequences

     21   can't be excused, but he has a family.                    He has two little

     22   girls.   My nieces asks for him all the time, and it is sad, it

     23   is sad that the home is broken up.                 It is sad my sister, my

     24   best friend has to do things on her own because he is not

     25   there.



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      1             That is all I have to say.

      2             THE COURT:     Thank you.

      3             THE WITNESS:       Hi, Your Honor, my name is Bianca

      4   Gonzalez.    I am Brandon's girlfriend and mother of his

      5   children.    I am aware that Brandon was involved in some major

      6   issues; but, as you see, he has major support system.                      We are

      7   all here to support him.          He has a family.               He has two girls

      8   that need him.     I need him.         I can't raise our girls by myself.

      9             If he gets extensive amount of years, my children are

     10   going to be my age.      They will not accept him.                   They won't know

     11   who he is.    They don't have a chance to build that relationship

     12   with their father.

     13             I need him.      We need him.            I don't want them to come

     14   from a broken home.      I met my father last year for the first

     15   time and I couldn't accept him.               I couldn't look at him and say

     16   this is my father, I don't even know you.                       And I don't want the

     17   same thing for my girls.

     18             I don't want my children to come from the same type

     19   broken home that I came from and, Brandon, he wants to be part

     20   of his children's life.         He loves us and he wants to be there.

     21             I know he won't walk away a free man, but I am asking

     22   if you could please not give him so many years because we do

     23   need him there with us.

     24

     25   BY MR. HAGUEL:



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      1   Q.   I know you--

      2               How many children do you have?

      3   A.   Two.

      4   Q.   Are they both Brandon's children?

      5   A.   My first daughter isn't but her father, he was not part of

      6   her life at all, and Brandon stepped up and played that role.

      7               He is the only person that she knows as daddy.             She

      8   doesn't know anybody else.            She doesn't know her other father.

      9               I don't want that to be taken away from her.

     10               She is only six months.              She doesn't even know him.

     11   She hasn't had a chance to build a relationship with him, and

     12   he will be taken away from her before she realizes who her

     13   daddy is, and I really don't want that.

     14   BY THE COURT:

     15   Q.   Ma'am, you have been with Mr. Robinson for approximately

     16   six years?

     17   A.   On and off.     I know him since I was 16.

     18   Q.   But you all have been romantically involved for about six

     19   years?

     20   A.   (Witness nods head in the affirmative.).

     21   Q.   Is that a yes?

     22   A.   Pretty much, yes.

     23   Q.   How old is your child with Mr. Robinson?

     24   A.   She is six months.

     25   Q.   Six months.     Did you have any idea what Mr. Robinson was



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      1   doing when he was not with you?

      2   A.   No.

      3   Q.   Do you know now?

      4   A.   I am aware of it now.

      5   Q.   What do you think about that?

      6   A.   I mean, I don't think -- I really don't think he played a

      7   major role in this.

      8              I feel like he might have been involved in some way,

      9   but, I mean, the type of person I see Brandon is with our two

     10   children, I can't imagine him doing something like that to

     11   other under-age girls.         That is just not his character.

     12              Anybody that knows him, how his relationship of kids

     13   of any age are, he is that backbone, that support, whatever he

     14   has he will give you.         Whatever that child needs, he makes sure

     15   he could provide.

     16              I can't imagine Brandon being what the Government is

     17   tying to convey him as.

     18   Q.   You understand that he plead guilty to the charges?

     19   A.   I do.

     20   Q.   Do you consider the charges to be serious?

     21   A.   I do consider them to be serious, but I also consider the

     22   fact that before we really established ouselves as a family,

     23   Brandon was really out there doing whatever Brandon needs to do

     24   to get by.

     25              He has family now.           He has a reason to live.      He has



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      1   reason to do better.        He has a purpose now.                     He didn't have a

      2   purpose before.      I know him since I was 16.

      3   Q.   Apparently, he did have a purpose, to use these run away

      4   girls for prostitution, to make money off of their bodies.

      5              What do you think about that?

      6   A.   I mean, I don't -- in my opinion, I don't think he forced

      7   anyone --

      8              Like I said, I don't feel like he played a major role.

      9   I feel like he was involved.              I don't think he forced anyone to

     10   do anything.

     11              Brandon was diligently trying to find a job.                        It is

     12   not really easy in this day and age.

     13              He wanted to be with us more than anybody, and I know

     14   he may have been involved in that.                  That is not his focus now.

     15              THE COURT:     Okay.       Thank you.

     16              MR. HAGUEL:      Ms. Perry.

     17              THE WITNESS:       Good morning.

     18              THE COURT:     Good morning.

     19              Could you give us your name?

     20              THE WITNESS:       Zareea Gary.

     21              MR. HAGUEL:      May I ask the questions?

     22              THE COURT:     Yes.       Sure.

     23   BY MR. HAGUEL:

     24   Q.   Would you tell us your name.

     25   A.   Zareea Gary.



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      1               Z-a-r-e-e-a, Gary.

      2               MR. HAGUEL:     Your Honor, Ms. Gary is one of the

      3   victims charged in the case.

      4               Ms. Perry is her mother.               I have spoken with both of

      5   them.

      6               Ms. Gary is very young, as you can see; very upset, as

      7   you can see; and, as of a few minutes before court started, she

      8   told me she didn't know if she would be able to address the

      9   Court.

     10               We have to see how that plays out.

     11               Ms. Perry is her mother.

     12               Ms. Perry is a little more composed.                      Ms. Perry has

     13   spoken with Zareea, and she would like to tell the Court

     14   something about the nature of the relationship between Zarrea

     15   and Mr. Robinson.

     16   BY MR. HAGUEL:

     17   Q.   Tell the Court your name?

     18   A.   Cindy Perry.

     19   Q.   You are Zareea's mother?

     20   A.   Yes.

     21   Q.   Do you remember when Zareea met Brandon?

     22   A.   In March.

     23   Q.   Last year?

     24   A.   Yes.

     25   Q.   These are going to be painful questions.



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      1   A.   Okay.

      2   Q.   Was your daughter Zareea involved in prostitution?

      3   A.   Yes, she was.

      4   Q.   Was she involved in prostitution before she met Brandon?

      5   A.   Way before she met Brandon.

      6   Q.   Did she continue to be involved in prostitution after she

      7   met Brandon?

      8   A.   Yes.

      9   Q.   Did you have contact with Brandon while they were together?

     10   A.   Yes, I did.

     11   Q.   And you spoke with Brandon about his relationship with

     12   Zareea?

     13   A.   Yes.

     14   Q.   What was your opinion about their relationship?

     15   A.   They were together.         They were prostituting her.                  She was

     16   doing it way before he met her.                When she got with him, he

     17   wanted her to stop it, period.               She was not coming home, still

     18   doing her--

     19   Q.   Speak slower.

     20   A.   She was still prostituting, everything.                          He didn't have

     21   involvement in her prostitution.                 He wanted her to stop it, and

     22   we talked about it.

     23   Q.   Talked about what?

     24   A.   Prostitution.

     25   Q.   And what did he tell you?



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      1   A.   He said he wanted her to do better.                     He wanted me to talk

      2   to her about the prostitution.               She never listened me anyways.

      3   We ganged up on her wanted her to stop and putting her back in

      4   school.     With his help, that happened.

      5   Q.   Was Zareea in school when she first met Brandon?

      6   A.   No, she stopped going completely.

      7   Q.   To your knowledge, did Mr. Robinson speak with her and

      8   influence her about going back to school?

      9   A.   Yes.

     10   Q.   What did he say?

     11   A.   He told her that she has no business being on the streets

     12   selling her body for money and stuff like that.                       She need to be

     13   a mother to her child and come back home with me, but she still

     14   didn't listen to that, so she continued on doing whatever she

     15   was doing, prostitution.

     16   Q.   Did she go back to school?

     17   A.   She went back to school.             Once he had a hard down talk with

     18   her as in get off the streets, get a better education, take

     19   care of the baby, more positive things.

     20               She wasn't listening to me.                 He talked to her and got

     21   her back in school.

     22   Q.   In your opinion, as far as you know, as far as you were

     23   able to see, was Zareea's decision to go back to school, was

     24   that due to, in part, Brandon Robinson?

     25   A.   Yes.



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      1   Q.   You say Zareea was rebellious, you wanted her to come home?

      2   A.   Yes.

      3   Q.   Where did she live?

      4   A.   With Brandon and his sister.

      5   Q.   At whose house?

      6   A.   His sister's house.

      7   Q.   At Brandon sister's house?

      8   A.   Yes.

      9   Q.   As far as you know, did Brandon ever supply Zareea and her

     10   child with any money or support of any sort?

     11   A.   He was taking care of both of them financially.

     12   Q.   What do you mean?

     13   A.   Give the baby clothes, diapers, food, her, too, clothes,

     14   whatever she needed.        He took care of her as if they were

     15   together.

     16   Q.   This baby is not Brandon's baby?

     17   A.   No.    No.

     18   Q.   As far as you know, as far as you were able to see, did

     19   Zareea give Mr. Robinson money?

     20   A.   No.    He mainly give -- I didn't see her giving him.

     21   Q.   Did you hear about it?

     22   A.   No.    She brought money to me.

     23   Q.   What did Zareea tell you about the money she made from

     24   prostitution?     Did she tell you she had to give all of it to

     25   Mr. Robinson?



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      1   A.   No.   She never said it.

      2   Q.   Did she tell you she had to give some of it to

      3   Mr. Robinson?

      4   A.   No.

      5   Q.   What did she say about the money she made for prostitution?

      6   A.   All the money she made prostitution was going to the baby.

      7   I had my grandson.      That is why she brought it to me.

      8   Q.   Is there anything you want to tell the judge?

      9   A.   Brandon is a good person.              I don't know what he was doing

     10   on the side.     I am speaking about Zareea.                     He did get her to do

     11   better.    Something I couldn't do.

     12              Got her tending more to her child than the streets and

     13   everything, so he is just a good person, as far as I know; and,

     14   as far as I know with her, he helped her out and I am grateful

     15   for that, and God bless him for doing that for me.

     16   Q.   As far as you know, as far as you were able to see or

     17   Zareea told you, that you know from any source, did

     18   Mr. Robinson force Zareea to continue with prostitution?

     19   A.   No.

     20   Q.   Ever hurt her in any way?

     21   A.   No.   They always argue about him stopping her from doing

     22   it, and she never want to stop from doing it.                         She is, like,

     23   this is the only way I have to take care of my baby, which is a

     24   lie.   She didn't want to stop and he tried to force her to stop

     25   and she didn't want to.



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      1   Q.   Did you ever hear or see or know or have any indication at

      2   all that Mr. Robinson harmed her in any way or hit her in any

      3   way?

      4   A.   No.

      5   Q.   Anything else?

      6   A.   No, I am done.

      7              MR. HAGUEL:      Zareea, do you want to talk to the judge

      8   for a moment?

      9              THE WITNESS:       No.

     10              MR. HAGUEL:      You think you can?

     11              (Shakes head no.)

     12              THE COURT:     Does the Government have any questions?

     13              MS. VIAMONTES:        Yes, judge, thank you.

     14              THE COURT:     You are welcome.

     15   BY MS. VIAMONTES:

     16   Q.   Good morning, ma'am.          How are you?

     17   A.   Good morning.

     18   Q.   Isn't it true you filed child abuse reports because your

     19   daughter was taking her child to hotels with Brandon Robinson

     20   and prostituting out of there?

     21   A.   Yes, I filed reports for --

     22   Q.   Ma'am, you need to speak into the microphone.

     23   A.   Yes, yes, that is true, but it wasn't because she was

     24   taking him to the hotels, because she was being defiant of me,

     25   and she wanted to run out and do what she wanted to do, and she



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      1   had a baby at home, so I called DCF on her.

      2   Q.   And you also called the police and reported that Ace, which

      3   is Brandon Robinson, was seen, was observed pulling your

      4   daughter by the hair, correct?

      5   A.   I called the police because I wanted my daughter home and I

      6   told her I was going to say that she was being abused so she

      7   could come home to her child instead of being out in the

      8   streets, yes.

      9   Q.   So you are telling this Court now you lied to the police

     10   when you made that report?            That was a false report?

     11   A.   It wasn't a false report.              Someone told me that.     That is

     12   why I called the police.

     13   Q.   Somebody told you that Ace was pulling your daughter by the

     14   hair?

     15   A.   Yes, someone told me that and I was calling the police

     16   myself.    I wanted her home.           I didn't want her in the street to

     17   be abused.

     18   Q.   You know Ace is a Bloods gang member?

     19   A.   No, I don't know him like that.

     20   Q.   Ma'am, have you been visited by Ace or some of the

     21   associates during the pendency of the case?

     22   A.   No.

     23   Q.   Do you know whether your daughter has been visited by Ace

     24   or some fellow gang members during the pendency of the case?

     25   A.   No.   She has been staying with me since all this be going



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      1   on.

      2   Q.    You do know that Ace pimped your daughter out, correct?

      3   A.    No, he didn't.

      4                MS. VIAMONTES:      May I approach, Your Honor?

      5                THE COURT:   Yes.

      6                MS. VIAMONTES:      Your Honor, I am placing on the elmo,

      7   I will mark it, I don't have a sticker at this time, but I will

      8   mark it Government's 1 for sentencing purposes.

      9                This is a Backpage Ad.

     10   BY MS. VIAMONTES:

     11   Q.    Ma'am, are these photographs of your daughter?

     12   A.    I don't know.    I can't see her face.

     13                I don't know.

     14   Q.    You can't tell this is your daughter in the picture?

     15   A.    No, I can't.

     16   Q.    And this is a Backpage Ad that was posted, 1, 2, 3, 4, 5,

     17   6, 7, 8, 9, 10, 11, 12, 13 times posted for a girl that appears

     18   to be your daughter.

     19                Your daughter goes by Puffy, correct?

     20   A.    Yes.

     21   Q.    From the Defendant's cell phone, do you see that?

     22   A.    I don't know his cell phone, no.                  I don't know his cell

     23   phone.

     24   Q.    Are you familiar with the Bloods gang?

     25   A.    No, I am not familiar with any gang.



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      1               MS. VIAMONTES:         Nothing further, judge.

      2               THE COURT:     Anything further?

      3               MR. HAGUEL:      No, Your Honor, not from this witness.

      4               THE COURT:     Thank you, ma'am,.

      5               MR. HAGUEL:      One minute.

      6               THE COURT:     You need to speak into the microphone,

      7   please.

      8   BY MR. HAGUEL:

      9   Q.   Start by telling the judge your name?

     10   A.   My name is Zareea Perry.

     11   Q.   Were you dating Brandon Robinson at one time?

     12   A.   Yes.

     13   Q.   Were you prostituting during the time you were dating

     14   Brandon Robinson?

     15   A.   Yes, sir.

     16   Q.   Were you prostituting before you were dating Brandon

     17   Robinson?

     18   A.   Yes.

     19   Q.   When you met Brandon Robinson, is he the one that forced

     20   you to prostitute?

     21   A.   No.

     22   Q.   Did he ever force you to prostitute?

     23   A.   No.

     24   Q.   Did he ever threaten you to keep you prostituting?

     25   A.   No.



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      1   Q.   Did he ever grab you by the hair?

      2   A.   No.    He never placed his hands on me.

      3   Q.   During the time you were together with Brandon Robinson,

      4   you were still prostituting?

      5   A.   Yes.

      6   Q.   You were making money from that?

      7   A.   Yes.

      8   Q.   Did you give a percentage of that money to Brandon

      9   Robinson?

     10   A.   No.

     11   Q.   Did you give a lump sum, like $10.00 each time to Brandon

     12   Robinson or $15.00?

     13   A.   No.    No.

     14   Q.   No amount of money each time to Brandon Robinson?

     15               Did you ever give money to Brandon Robinson at any

     16   time?

     17   A.   Yes, if he needed it.

     18   Q.   Did he ever give you money at any time?

     19   A.   Yes.

     20   Q.   When you say you gave Brandon Robinson when he needed it,

     21   was it in connection with your prostitution?

     22   A.   Yes.

     23   Q.   Was the money what you made from prostitution?

     24   A.   Yes.

     25   Q.   Is there anything else you want to tell the judge?



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      1               THE COURT:     Does the Government have any questions?

      2               MS. VIAMONTES:         Yes, Your Honor, briefly.

      3   BY MS. VIAMONTES:

      4   Q.   Z.G., how many other girls were working for Brandon

      5   Robinson when you were with him?

      6   A.   I didn't know of any other girls.

      7   Q.   You didn't know of any other girls?

      8   A.   No.

      9   Q.   When was it that you prostituted for Brandon Robinson?

     10   A.   I never prostituted for him.

     11   Q.   Didn't you testify that you did?

     12   A.   No, for myself, not for him.

     13   Q.   Out of hotels that he rented?

     14   A.   Actually, we were living in the hotel because he sister

     15   kicked us out.

     16   Q.   Who paid for the rooms?

     17   A.   We did.

     18   Q.   Who?

     19   A.   Me and --

     20   Q.   Z.G., did Brandon Robinson have a job while you were

     21   prostituting?

     22   A.   No.

     23   Q.   How would he pay for the rooms?

     24   A.   Actually, I paid for them.

     25   Q.   I am putting on the elmo a photograph.                           Do you recognize



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      1   who is in this photograph?

      2   A.   Yes.

      3   Q.   Who is in the photograph?

      4   A.   Brandon.

      5   Q.   On the right, is this Brandon Robinson?

      6   A.   Yes.

      7   Q.   He is also known as Ace?

      8   A.   Yes.

      9   Q.   He is a Bloods gang member, correct?

     10   A.   I didn't know that.

     11   Q.   You didn't know that?

     12   A.   No.

     13   Q.   Do you know who this person is?

     14   A.   No.

     15   Q.   Do you know somebody by the name of Spider?

     16   A.   No.

     17   Q.   Z.G., you have been contacted by Brandon Robinson during

     18   the pendency of the case, correct?

     19   A.   No.

     20   Q.   You have been contacted by his associates, haven't you?

     21   A.   Only his mother.

     22   Q.   Okay.   You were urged to not cooperate with the Government,

     23   you were told to not cooperate with the Government, isn't that

     24   true?

     25   A.   No.



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      1   Q.   Do you realize all the jail calls are recorded.                  All the

      2   calls from jail are recorded.               Do you know that?

      3   A.   Uh-hum.

      4   Q.   Is that a yes?

      5   A.   Yes.

      6   Q.   Would you be surprised in some of the jail calls Brandon

      7   Robinson talks about taking care of you making sure you are not

      8   coming to court?

      9   A.   No.    No.   He never said that.

     10   Q.   Z.G., you are afraid of Brandon Robinson, is that true?

     11   A.   No.

     12               MS. VIAMONTES:       Your Honor, if I could question the

     13   witness without anybody next to her because she is being nudged

     14   by her mother.

     15               THE WITNESS:      No, I was going to move her out of the

     16   way and talk with you.

     17               THE COURT:    Ma'am, if you would please step back a

     18   couple steps.

     19               Thank you.

     20               Go ahead Ms. Viamontes.

     21   BY MS. VIAMONTES:

     22   Q.   Ma'am, Z.G., you were pulled by the hair at one point by

     23   Brandon Robinson?

     24   A.   No.    He never put his hands on me.

     25   Q.   You are not afraid of him?              You are not afraid of other



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      1   gang members in this case?

      2   A.   No.

      3   Q.   You have never seen him be violent toward Johns that come

      4   to the hotel?

      5   A.   No.

      6              MS. VIAMONTES:        Nothing further, Your Honor.

      7              THE COURT:     I need to take a two minute restroom

      8   break.

      9              5 minutes instead of two.

     10              (Thereupon, a short recess was taken.)

     11              THE COURT:     Okay, the record will reflect that

     12   Mr. Robinson is present represented by counsel.

     13              Folks, you all can be seated.

     14              Mr. Haguel anything further?

     15              MR. HAGUEL:      Yes, the defendant would like to address

     16   the Court.

     17              THE COURT:     Okay.       After that, I will hear from the

     18   Government.

     19              Mr. Robinson.

     20              THE DEFENDANT:        Good morning, Your Honor.

     21              THE COURT:     Good morning.

     22              THE DEFENDANT:        Your Honor, I just want to read this

     23   letter to you.

     24              THE COURT:     Okay.

     25              THE DEFENDANT:        Your Honor, I thank you for hearing me



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      1   out.   I admit I made mistakes in the past; but, before we talk

      2   about those mistakes, I would like to apologize to the victims

      3   in this case, Zareea Gary and Yardy (phonetic), growing up

      4   without a father played a major role in these mistakes.

      5              My mother did the best trying to keep me from hanging

      6   out with the wrong crowd and I thank her for that.

      7              Your Honor, I had opportunities in this life that some

      8   kids dream for.      I started playing basketball for AAU Travel

      9   Team at the age of 12.         I competed in Las Vegas, Kentucky,

     10   Indiana, Georgia, North and South Carolina.                           So many places, I

     11   can't even remember.

     12              I have had a scholarship to two schools, Michigan and

     13   Lynn University.      When given the scholarship to Michigan, I got

     14   involved with the wrong people, and Cynthia Prado gave me six

     15   months in jail.      My scholarship was taken away from me and so

     16   was my basketball dream.

     17              After that, the use of drugs was a factor in my life.

     18   I also lost a close friend to me his name was Michael.                          He

     19   passed away from dialysis.            A year later I lost another close

     20   friend.    She was shot in the head and chest.                        To make it so bad

     21   it was on her birthday night.

     22              This destroyed me, Your Honor.

     23              I done wrong in my life.                It is clear to see.          If not,

     24   I would not be standing in front of you.                       I made terrible

     25   decisions, this charge being the worst in my life.



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      1              Sometimes I sit in my cell and saying what is you

      2   thinking?    That was the problem.               I was not thinking, only

      3   thinking of myself.

      4              I add it to my wrong, no one should engage in this

      5   type activity no matter what age they are.

      6              I know I did not force anyone to do this, and they did

      7   this on their own will, also, in their previous life before

      8   they met me.

      9              That still does not make it right and I can truly,

     10   from the bottom of my heart, say that I am sorry.                       I'm sorry

     11   because I participated in this way of living knowing deep down

     12   that it was wrong.

     13              I don't know if me saying something about it would

     14   have changed their actions, but I know I would not be in this

     15   predicament I am in now.

     16              No one is perfect.           I know I have things I need to fix

     17   in my life and truth be told I been working on these things.

     18              Your Honor, do you have kids?                   I would guess that you

     19   do, that are the most precious things in the world.                       I have two

     20   beautiful daughters that mean the world to me.                        Arianna is only

     21   three years old.      She is so bright.               I talk to her every day.

     22              When I am feeling down, just to hear her sweet voice

     23   lifts my spirit.      She misses me dearly.                  My wife tells me she

     24   asked for me every day.

     25              And then Alya, she is six months old.                      I was only



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      1   there four weeks of her life.               She is my little angel.             She is

      2   growing up so fast, and it hurts me to my heart that I am

      3   missing these special moments.               I love them both so much.              They

      4   are my life, Your Honor.

      5              I told you earlier how I grew up without a father

      6   figure, and that was a big factor me maybe gone bad.                          I don't

      7   want that to be for my children.                 I want to guide them the

      8   right path to show them the love that little girl needs from

      9   their father.

     10              I know I have to be punished for my crime.                        It is the

     11   prosecutor's job to let you know about my crime.                          I don't

     12   disagree with the bad things they tell you.                           They are correct,

     13   but they are not complete.            They are two sides to me, and they

     14   only know one, which is the negative side I admitted to you.

     15   They don't know the other side, loving, caring, giving.                          The

     16   other side that can always put a smile on someone's face, the

     17   side my family and friends know, your Honor.

     18              If you could find it in your heart to give me another

     19   chance at life, I promise that I would not let you or my family

     20   down.   I am 23 years old but a child in many ways.                         I have a

     21   loving girlfriend and we plan to get married and live a

     22   positive life raising our daughters.                    I have a loving mother

     23   and sister who has always been there for me in my life.                          I love

     24   them so much.

     25              I guess I was blind to these things and what I am



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      1   trying to say is, please, make a way for me to return back to

      2   them, my family, my two daughters, my mother, my wife, my

      3   sister, my life at a decent age so I can start over.

      4              Thank you, Judge Cohn.

      5              THE COURT:     Mr. Haguel, anything else you want to say

      6   before I turn to the Government?

      7              MR. HAGUEL:      No other witnesses or testimony to

      8   present.

      9              I do have comments, if I could reserve after the

     10   Government.

     11              THE COURT:     I think that is fair.

     12              Go ahead, Ms. Viamontes.

     13              MS. VIAMONTES:        Thank you, Your Honor.

     14              Your Honor, you heard one side of Brandon Robinson

     15   today, but I want to tell the Court what maybe some of his

     16   family members don't know and what they don't see in Brandon

     17   Robinson.

     18              Brandon Robinson, as you see in this picture, he is a

     19   documented Bloods gang member.

     20              Your Honor, Brandon Robinson did force M.Y. to

     21   prostitute.     He did use violence against her.                      He choked her,

     22   threw here on the bed, a child that went there not knowing what

     23   she was going to get involved with.

     24              That child is in court today.                   She does not wish to

     25   talk about what happened to her.                 She may wish to come up here



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      1   and I will help her tell the Court how what Brandon Robinson

      2   did to her affected her life.               He did use force and violence

      3   against M.Y.     She estimated she had approximately 50

      4   prostitution dates that day, Your Honor, he became so irate,

      5   initially, when he had her answer the phones when the customers

      6   were calling, she sounded so young on the phone that customers

      7   were getting concerned that they were dealing with minors.                         He

      8   got so upset with her, he choked her, threw her on the bed.                          He

      9   prevented her from leaving.

     10              M.Y. was able to escape from Brandon Robinson because

     11   another minor contacted the ad, contacted her, went to her and

     12   said, hey, you are too young.               Let me help you get out of here.

     13              That minor would have been called to testify had

     14   Brandon Robinson go to trial and she would have established

     15   that M.Y. was afraid of Brandon Robinson.                        They snuck out of

     16   there.    As they were leaving, Andre Holston left the hotel and

     17   they had to lie to Holston where they were going.                       And Robinson

     18   told M.Y., you tell Robinson where you are going.

     19              This is a man who took advantage of vulnerable girls

     20   who either needed a father figure in life or foster care.

     21              He used force.        This is a violent pimp.               With some

     22   girls, he used the boyfriend pimp.                  With other girls, such as,

     23   M.Y., who was 14 at the time, he used violence.

     24              Your Honor, we would like to play one jail call for

     25   the Court. I don't want to take a lot of time.                        In order for



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      1   the Court to fashion a just sentence, the Court must know how

      2   dangerous he is.

      3              He acknowledges placing a hit on one of the witnesses

      4   in the case, Jeana Dubois.            You heard Jeana Dubois throughout

      5   the PSI.    Jeana Dubois was an unindicted co-conspirator.                       She

      6   was the bottom for Ace.          She was cooperating with the

      7   Government.     That is why she wasn't charged.                       She assisted the

      8   Government in the Flowers investigation, getting undercover

      9   recordings from Flowers.           Brandon Robinson found out about it

     10   and placed a hit on her.

     11              That is documented in the jail call, and they talk

     12   about how he placed a hit and called the hit off and tells her,

     13   in effect, I did that for you.               I saved you, so now you are

     14   going to take care of M.Y..

     15              You will hear how they mention M.Y., and how he tells

     16   Jeana Dubois to contact his mom who will contact Spider to take

     17   care of her.

     18              So, Your Honor, at that time, I will play that jail

     19   call.   I do have a transcript the Court can follow along with,

     20   if you like.

     21              THE COURT:     Please.

     22              Judge, I don't see the speakers that are normally

     23   here.   Let me see if I can get this louder.

     24              THE COURT:     Those of you who are here for the 11

     25   o'clock sentencing, we are running behind schedule.                         The Court



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      1   asked counsel to advise the Court when a sentencing hearing

      2   will take greater than 30 minutes, and we've taken almost an

      3   hour; but, in the future, if you see or you anticipate a

      4   sentencing hearing will take longer than a half hour, please

      5   notify the Court so we don't run into a situation such as this

      6   where I have other lawyers who are here in a timely fashion and

      7   who are not being heard for quite some time after their

      8   scheduled hearing, as a matter of courtesy.

      9              MR. HAGUEL:      I apologize, Your Honor.

     10              THE COURT:     I'm sorry, you did have an hour.

     11              MS. VIAMONTES:        I asked for an hour.

     12              THE COURT:     We are still within the hour.               We will run

     13   over slightly.

     14              I say that in the future if you see that situation on

     15   the horizon.

     16              (Call played.)

     17              MS. VIAMONTES:        Your Honor, there is no need to play

     18   the rest of that recording; but, as the Court heard, you heard

     19   Brandon Robinson, you heard the true side of Ace, the side

     20   maybe his family may not know, maybe some of the witnesses may

     21   not know.    It explains why victim Z.G. came in here saying some

     22   of the things she said.

     23              He acknowledges placing a hit on Jeana Dubois, talks

     24   about how his associates put a gun to her back and said there

     25   was a hit on her placed by Brandon Robinson and he is the one



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      1   that called it off, because he is the one working out there

      2   placing pressure on Puffy, Z.G. that came in here today.

      3              And you heard in the phone call where Jeana said she

      4   is willing to beat this girl up.                 What does Brandon Robinson

      5   say?   "That is not enough, cut off oxygen."

      6              He ordered a hit on a 14 year old child.                    He ordered

      7   them to put pressure and obstruct with Puffy, Z.G.

      8              Your Honor, this is who Ace is.                     He is a violent gang

      9   member.    He is the orchestrator.

     10              Is this on here?

     11              THE COURT:     It should be.

     12              MS. VIAMONTES:        This photograph was admitted into

     13   evidence, Your Honor.         It is Government's Exhibit 38 at trial.

     14              This shows the man that he refers to as Spider in that

     15   photograph.     That is his hit man, and that is who he wants to

     16   enforce his rules to make sure that these witnesses cannot come

     17   in and testify so he cannot be held accountable for what he has

     18   done, Your Honor.

     19              This man should not be unleashed on our community, not

     20   in 30 years, not ever.         He will never change.

     21              If it weren't for Brandon Robinson, a lot of the

     22   co-defendants probably wouldn't have done what they did,

     23   especially, Kerry Bullock.            Kerry Bullock is a victim of

     24   Brandon Robinson.      He is the leader and orchestrated this

     25   thing.



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      1              There are numerous jail calls where he is heard

      2   talking about going to the Bloods' meetings.                          He attends the

      3   regional meetings with someone he refers to a Ma.                         Matrina, who

      4   is the matriarch of the gang, and, clearly, he is asking

      5   somebody of a mother figure, whether it is his biological

      6   mother or Matrina.

      7              I urge this Court, I know it is not easy, I know the

      8   Court takes it seriously, especially, when sentencing a young

      9   man, I ask the Court to give him a guideline sentence of life

     10   in prison.

     11              I don't think any other term would protect our

     12   community.     He is a very violent man and the record is clear no

     13   other sentence would adequately protect our community or deter

     14   others from obstructing justice and placing hits on victims

     15   during a Federal case, and violating young girls.

     16              Victim M.Y. does want to address the Court briefly

     17   with my assistance.       She was only 14.

     18              I will have her come into the courtroom at this time.

     19   I had her step out during that call.                    She is about 30 weeks

     20   pregnant, and I didn't want to add any pressure that was not

     21   necessary to her.

     22              (Pause)

     23              MS. VIAMONTES:        If it is okay, Agent Heather Armstrong

     24   is standing with her because the victim feels more comfortable.

     25              THE COURT:     Yes, ma'am.



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      1   BY MS. VIAMONTES:

      2   Q.   Is it okay if I call you M.Y?

      3   A.   Yes.

      4   Q.   Could you please introduce yourself to the judge?

      5   A.   My name is M.Y., and I am one of the victims in this case.

      6   Q.   I am not going to ask you any specific questions, but you

      7   did want to tell the judge what Brandon Robinson did affected

      8   you?

      9   A.   Yes.

     10   Q.   Go ahead.

     11   A.   First of all, I say that it wasn't right what he did, but I

     12   am a Godly person, and everybody deserves another chance, so I

     13   do accept his apology, because I didn't think he was going to.

     14               At the same time, I want you to know I am also

     15   pregnant now.     Because of what he did, I can no longer talk to

     16   my baby daddy.     I have no sexual relation with him, because I

     17   am not comfortable.

     18               I feel like what that did to me, it took away my

     19   childhood, and I matured too fast for my age, and I feel like

     20   my baby is not going to know her father because of this

     21   incident.

     22               I do accept his apology, and I hope he learns his

     23   lesson and I hope he becomes a better person and I do apologize

     24   for his two little girls.            I didn't know he had kids.             Every

     25   kid deserves to have a father in his life.                        I hope that he will



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      1   still see his children.          He does deserve time but not life.

      2   Everybody needs a father in life.

      3              His apology was deep and sincere.                      Like he said, I

      4   didn't see the positive side of his life.                        I only saw the

      5   negative side.     Me seeing his negative side, I said he deserve

      6   to be in jail for the rest of his life.

      7              Since his witnesses came up and told how much of a

      8   good person he was, like, I kind of had that kind hearted,

      9   because I really didn't know he was that good of a person and I

     10   hope -- I didn't know he took care of the baby and put clothes

     11   on her back.

     12              THE COURT:     Ma'am, is your pregnancy the result of

     13   these crimes?

     14              THE WITNESS:       No.

     15              THE COURT:     All right.           Thank you.

     16              MS. VIAMONTES:        Thank you, judge.

     17              MR. HAGUEL:      Your Honor, may I ask one question of the

     18   witness?

     19              THE COURT:     This was a victim impact.

     20              MS. VIAMONTES:        I didn't ask any testimonial

     21   questions, Your Honor.

     22              THE COURT:     It is a victim impact statement required

     23   by statute.     I don't think it would be appropriate to subject

     24   her to cross-examination.

     25              MR. HAGUEL:      I withdraw that.



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      1              THE COURT:     All right.           Mr. Haguel you have the last

      2   word, sir.

      3              MR. HAGUEL:      Judge, let me start by saying the one

      4   question, one area that I wanted to ask this last witness

      5   was -- and, as I said when Ms. Gary was testifying and her

      6   mother was testifying, these are hard questions, these are hard

      7   facts to bring up.

      8              The one question I wanted to ask her is whether she

      9   was prostituting before she met Brandon Robinson?                      I think her

     10   answer would have been yes, and there are FBI reports --

     11              MS. VIAMONTES:        I object to relevance.               How is that

     12   relevant?

     13              MR. HAGUEL:      May I reply?

     14              THE COURT:     Go ahead.

     15              MR. HAGUEL:      The relevance is for the Court to

     16   consider whether you are sentencing a person who forced people

     17   into prostitution or somebody who facilitated people who are

     18   already in prostitution.

     19              Which is not to say -- I am repeating this -- not to

     20   say that for people already in prostitution is okay, it is not

     21   okay.   He pled guilty to those crimes.

     22              If they are going to grant that distinction or

     23   stipulate to that distinction, I will be quiet.

     24              MS. VIAMONTES:        Your Honor, there is no such

     25   stipulation coming from this table.                   That defendant forced M.Y.



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      1   to prostitute by choking her and being physically abusive.                  I

      2   don't care if she prostituted for five years before she met

      3   Brandon Robinson, the second he placed his hands on her, that

      4   changed the game completely.

      5              MR. HAGUEL:      My response to that is he denies using

      6   any violence and putting his hands on her.

      7              If the Government is stipulating or conceding that she

      8   was a prostitute before she met Mr. Robinson, that is the only

      9   point I want to make concerning her.

     10              MS. VIAMONTES:        I don't know if that needs a response.

     11   She was a 14 year old child, judge.

     12              THE COURT:     It does not need a response.

     13              This is his rebuttal.             He can say whatever he wants

     14   to.

     15              The Court is the arbiter in this instance, and the

     16   Court will determine what weight, if any, to give to any

     17   argument by either side.

     18              All right.

     19              Mr. Haguel go ahead.

     20              MR. HAGUEL:      As Mr. Robinson told you, I will

     21   parenthetically tell the Court, I didn't write that speech for

     22   him.   He wrote it.     The only coach I gave him, when he read it

     23   to me, he was talking too fast.                I told him to talk slower.

     24   Other than that, that was his words coming from his heart.

     25              But I am going to take from his message to the Court,



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      1   some parts that I want to repeat to the Court.

      2              There are bad things that Brandon Robinson has done.

      3   We are not denying those.            I am not dwelling on those because

      4   that is what the Government is here for.

      5              They have done a wonderful job of dwelling on that.

      6              Yes, there are bad things that Brandon Robinson has

      7   done, but the Court has heard today, and the Court knows there

      8   are good things he has done.

      9              You heard from his friends, his relatives.                 You heard

     10   out of the two victims in this case, the Court has heard from

     11   one victim saying that she was in prostitution before she met

     12   him, and Mr. Robinson tied to talk her out of being in

     13   prostituting, but, yes, she was still prostituting when they

     14   were together.

     15              You heard from the mother of his two children saying

     16   what a good father he is to those two children, asking the

     17   Court to allow those two children to grow up with a father at

     18   some reasonable age.

     19              We know the Court is not going to allow Mr. Robinson

     20   to walk out of this courtroom and be a father with his children

     21   tomorrow, but we also know, as the mother told you -- of the

     22   children told you, she grew up without a father and had a great

     23   effect on her.

     24              Mr. Robinson grew up without a father and it had an

     25   effect on him.     We do not want that to continue with his two



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      1   small children.

      2              The Court also heard from the last witness, M.Y. and I

      3   praise her, I applaud her for what she said because a lot of

      4   what she said, I hope I am not misquoting her, she said when

      5   she came in here she wanted to see Mr. Robinson go to jail for

      6   life.    Now that she heard a little more about him, she accepts

      7   his apology, doesn't make it all right, doesn't make it never

      8   happened, but she accepts his apology and he deserves a second

      9   chance and his sentence should not be a life sentence, and the

     10   daughters could -- she said I apologize to his daughters, I

     11   didn't know he had daughters, something like that.

     12              But she is also considering his daughters, and that

     13   she now, after coming in here today, now sees the positive side

     14   of Mr. Robinson when all she knew before that was the negative

     15   side of Mr. Robinson.

     16              That is the point we are trying to make to the Court

     17   today.

     18              Yes, we do not deny the negative side of Mr. Robinson,

     19   but we ask the Court to also consider the positive side of

     20   Mr. Robinson.

     21              As far as the sentence itself, the Guidelines are, I

     22   will use the word, through the roof.                    We are asking the

     23   Court -- the Guidelines are advisory, and we ask the Court not

     24   to follow the Guidelines.            We are asking for a variance

     25   downward.    Statute 3553, and all the case law that goes along



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      1   with that says you shouldn't sentence the crime, you should

      2   sentence the person.

      3              The person that stands before you today has done a lot

      4   of bad things but he also has done good things.

      5              The Pre-sentence Investigation Report talks about some

      6   of the skills he had that he never followed through with.

      7              It also talks about the drug treatment he needs that

      8   he never followed through with.

      9              We are asking the Court to give him a sentence that

     10   allows him to return to his children and to his family, mostly,

     11   to his two daughters at some age when he can do some good in

     12   their lives, and he be given an opportunity to get the drug

     13   treatment he needs while in prison, and get the vocational

     14   training he needs while in prison so when he comes out he does

     15   not have the drug problem and does have vocational skills and

     16   can be a productive member of society.

     17              As far as porportionality, there are several

     18   defendants in this case.           If I am not mistaken, all but one

     19   have been sentenced.

     20              Mr. Robinson is one of the most culpable in this case.

     21   I believe that he is on a level with Mr. Flowers.                     Mr. Flowers

     22   was sentenced by this Court to 15 years.

     23              I know there is going to be a response to the

     24   Government saying Mr. Robinson also gave a threat -- threatened

     25   one of the witnesses in this case.



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      1              We all just listened to that phone call.

      2              I think that phone call is somewhat ambiguous.

      3              I think there is some puffery in it, but it is what it

      4   is.

      5              It is also true there was never any threat carried

      6   out.

      7              Guidelines talk about obstruction of justice

      8   enhancement of two levels.

      9              When you are in the end of the chart where we are, two

     10   levels is 24 months.        That is for any obstruction of justice,

     11   that means when people are threatened or killed or are injured.

     12              In this case, and, again, I don't mean to minimize

     13   what was done, but I don't want the Court to over emphasize

     14   what was done.     There was no harm done to any of the victims

     15   nor was there a threat conveyed as a result of what we heard on

     16   the phone call.

     17              If the Guidelines talk about a two year enhancement

     18   for obstruction of justice, I would ask the Court

     19   porportionalitywise to look at the sentence given to

     20   Mr. Flowers, which is 15 years.                If the Court thinks there

     21   needs to be an enhancement or increase in the sentence from the

     22   15 years for the talk on the phone considering a threat to a

     23   witness, I would ask the Court to increase that by one or two

     24   years, and that would be a sentence that is sufficient to serve

     25   the purpose of the statutes that are involved, and would not be



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      1   more than necessary and give him an opportunity to return to

      2   his life and to his family.

      3              THE COURT:     Thank you, sir.

      4              The Court has considered the statements of all

      5   parties, the Pre-sentence Report which contains the advisory

      6   guidelines as well as each of the factors set forth in 18,

      7   United States Code, Section 3553(a).

      8              The Court finds that Mr. Robinson is financially

      9   unable to pay a fine, however, restitution is mandatory.

     10              It is, to put it mildly, despicable to use the most

     11   vulnerable members of our society as personal property for

     12   financial gain.

     13              Mr. Robinson is, by far, the most culpable member of

     14   this conspiracy; and based on the Pre-sentence Report and the

     15   statements by counsel, the Court finds that Mr. Robinson is

     16   also the most violent member of this conspiracy.

     17              The Court found that the recorded telephone call from

     18   jail exemplifies Mr. Robinson's violent demeanor, a far

     19   different demeanor than that exhibited here in this courtroom

     20   this morning.

     21              The Court is charged with the responsibility of

     22   determining a sentence which is sufficient to provide just

     23   punishment and adequate deterrence.

     24              The Guideline range is life and had Mr. Robinson not

     25   accepted responsibility this Court's sentence would be life;



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      1   but, in light of the fact that he did plead guilty, the Court

      2   determines that a sentence of 360 months is sufficient to

      3   provide just punishment, adequate deterrence and

      4   porportionality with respect to the other members of this

      5   conspiracy.

      6              Accordingly, it is the judgment of this Court that the

      7   Defendant Brandon Robinson is hereby committed to the custody

      8   of the Bureau of Prisons to be imprisoned for 360 months.

      9              This consists of terms of 360 months as to Counts 1,

     10   2, and 3, to be served concurrently.

     11              It is further ordered that pursuant to 18, United

     12   States Code, Section 3664(d)(5), that the victims' losses are

     13   not yet ascertainable.         Therefore, the Court shall set a date

     14   for the final determination of the victim's losses not to

     15   exceed 90 days after sentencing.

     16              Mrs. Thompkins, what is that date?

     17              THE COURTROOM DEPUTY:             June 13, 2014, 9:30 a.m..

     18              THE COURT:     If Mr. Robinson wants to waive his right

     19   to appear, he needs to sign that waiver.                       We have that waiver

     20   form, Mr. Haguel if your client wishes to waive his appearance.

     21              The defendant shall be placed on supervised release

     22   for a term of life.

     23              This term consists of life as to each of Counts 1, 2,

     24   3, all such terms to be run concurrently.

     25              Within 72 hours of release from the custody of the



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      1   Bureau of Prisons, the defendant shall report in person to the

      2   Probation Office in the District where released.

      3              While on supervised release, the defendant shall not

      4   commit any crimes, shall be prohibited from possessing firearm

      5   or other dangerous devices, shall not possess a controlled

      6   substance, shall cooperate in the collection of DNA and comply

      7   with the standard conditions of supervised release including

      8   the following special conditions:                  Association restriction,

      9   data encryption restriction, permissible computer examination,

     10   computer modum restriction, computer possession restriction,

     11   employer computer restriction disclosure, mental health

     12   treatment, substance abuse treatment, financial disclosure

     13   requirement, employment requirement, permissible search, no

     14   contact with minors, other than his children; no contact with

     15   minors in employment, no involvement in youth organizations,

     16   sex offender treatment, restricted from sexual materials, Adam

     17   Walsh Act search condition and sex offender registration.                 All

     18   as noted in Part G of the pre-sentence report.

     19              Additionally, the defendant shall pay a special

     20   assessment of $100 as to each of Counts 1, 2, 3 for a total of

     21   $300.

     22              Total sentence imposed is 360 months imprisonment.

     23   Life supervised release and $300 special assessment.

     24              Now that sentence has been imposed, does defendant or

     25   his counsel object to the Court's finding of fact or to the



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      1   manner in which sentence was pronounced?

      2              MR. HAGUEL:      No objection.

      3              May I ask the Court two quick things?

      4              THE COURT:     Yes, sir.

      5              MR. HAGUEL:      As the Court said, no contact with

      6   children except his children, would that apply to his other

      7   child?

      8              THE COURT:     Yes.

      9              MR. HAGUEL:      I want the same exception as to the Sex

     10   Offender Registration.

     11              THE COURT:     Yes.

     12              Mr. Robinson, you have a right to appeal the sentence

     13   imposed.    Any appeal must be filed within 14 days after the

     14   entry of judgment.      If you are unable to pay for the cost of

     15   appeal, you may apply for leave to appeal informa pauperis.

     16              Anything further?

     17              MR. HAGUEL:      May I ask the Court to recommend he be

     18   housed in a facility as close to South Florida as possible?

     19              THE COURT:     The Court will recommend a facility within

     20   the Southern District of Florida.

     21              Anything further?

     22              MS. VIAMONTES:        No, Your Honor.

     23              THE COURT:     Thank you all.

     24              (Thereupon, the hearing was concluded.)

     25



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      1                          C E R T I F I C A T E

      2              I hereby certify that the foregoing is an accurate

      3   transcription of proceedings in the above-entitled matter.

      4
          July 19, 2014                    \s\ Pauline A. Stipes
      5   ________________                 ______________________________________
              DATE                          PAULINE A. STIPES
      6                                     Official United States Court Reporter
                                            299 E. Broward Boulevard
      7                                     Ft. Lauderdale, Fl 33301
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